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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS
______________________________________
                                         :
Fallon Antone,                           :
                                         : Civil Action No.: 1:13-cv-10096-RWZ
                     Plaintiff,          :
       v.                                :
                                         :
Southwest Credit Systems, L.P.; and      :                                                         (
DOES 1-10, inclusive,                    :
                                         :                                                         (
                     Defendants.         :                                                         D
______________________________________ :                                                           R
                                                                                                   H
                               STIPULATION OF DISMISSAL

       WHEREAS, the parties to the above-entitled action have resolved the issues alleged in

the complaint in this action, and have negotiated in good faith for that purpose; and

       WHEREAS, none of the parties to the above-captioned action is an infant or incompetent

person; and

       WHEREAS, the parties in the above-captioned action wish to discontinue the litigation;

       IT IS HEREBY STIPULATED AND AGREED by and between the parties and/or their

respective counsel as follows that, pursuant to FRCP 41(a)(1)(A)(ii), the above-captioned action

is hereby dismissed against Southwest Credit Systems, L.P. with prejudice and without costs to

any party waiving all rights of appeal.

 Fallon Antone                                 Southwest Credit Systems, L.P.

 ___/s/ Sergei Lemberg__________               __/s/ Andrew Schneiderman______

 Sergei Lemberg, Esq.                          Andrew Schneiderman
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                                   Attorneys for Defendant

_____________________________
SO ORDERED




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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 10, 2013, a true and correct copy of the foregoing Stipulation
of Dismissal was served electronically by the U.S. District Court for the District of
Massachusetts Electronic Document Filing System (ECF) and that the document is available on
the ECF system.

Andrew Schneiderman
Ranen S. Schechner
Hinshaw and Culbertson, LLP
28 State Street, 24th Floor
Boston, MA 02109

                                             By_/s/ Sergei Lemberg_________
                                                    Sergei Lemberg




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